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                            EXHIBIT 5
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     Carnation
     Ambulatory Monitor™




                               Diagnostic accuracy:
                                       Context and
                                confidence through
                                      clear P-wave
                                        detection1-3




                                          Bardy Diagnostics is a part of Baxter
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   Carnation Ambulatory Monitor
   by Bardy Diagnostics

                                               Event button to mark the
                                                continuous recording of
Designed to be placed along the                       patient symptoms

sternum — over the heart — to
                                                  Proprietary circuit
optimize P-wave signal capture,             design enabling optimal
the CAM Patch results in                            signal-to-noise

improved ECG clarity, providing
                                                     Lightweight and
more information about heart                       low-profile design
rhythm that may lead to more
clinically-actionable diagnoses
compared to leading ECG
monitors in the industry. Its
unique form factor is designed                  Slim hourglass shape
with comfort and satisfaction in
mind, with the aim of improving
patient compliance.1-4



                                        Durable long-term adhesive
                                          suitable for sensitive skin


                            Image represents actual size of Carnation Ambulatory Monitor




Comfort for the Patient1
               Designed to Improve Patient Compliance2

                                                                         Prefer wearing the
                                                                         lightweight and compact
                                                      96%
                                                      OF PATIENTS
                                                                         CAM Patch compared to a
                                                                         3-lead standard Holter.1
                       Case 1:24-cv-01355-JDW                             Document 12-5                     Filed 03/03/25            Page 4 of 5 PageID #: 916
                 Convenience for the Practice

                            Customizable Workflow to Fit the Needs of Your Practice1




                                 • Register on                           • Continuous                          • Return CAM                • Generate CAM
                                BDxCONNECT                                monitoring                        • Upload ECG data             Report by your staff
                              • Apply CAM Patch                          • Patient logs                      to BDxCONNECT                    or BardyDx
                                                                           symptoms




                              Increased Efficiency and Streamlined Clinical Workflows
                                 Using our Easy-to-Use Patient Management Portal4


                                                                                           Fast Access to Reports                             Flexibility to do own
                                                                                           by Direct Upload of                                Analysis or Utilize
                                                                                           Patient Data                                       our Certified Techs


                                                                                           2-Day Report                                       Secure Cloud-Based
                                                                                           Turnaround                                         Network




                 Clarity for the Physician2
                                     ECG Clarity That Improves Clinical Decision Making2-4
                   08:46:32 11/19/2019
             5                                          AF
                       40 Min R-R Plot            772        477   666   616   600   688        633   905      783       966    msec
200 250300




             bpm                                  77         125   90    97    99    87         94    66       76        62     bpm
                                                                                                                                                High Diagnostic Yield
                                                                                                                                                for Informed Diagnoses1-3
100




                                                                                                                                                14 Days Extended
                                                                                                                                                Duration Monitoring
50




                          08:46:32       40 min                                      08:46:32                        1 sec      8 sec
20




                                                                                                                                                Proprietary Report
                                                                                                                     5 sec
                                                                                                                                                Format Delivers
                                                                                                                               56 sec
                                                                                                                                                Clarity and Context1
       Case 1:24-cv-01355-JDW                       Document 12-5               Filed 03/03/25            Page 5 of 5 PageID #: 917
     Clinically-actionable data for confident decisions
                 and prioritization of care1,2


    Greater Impact on Clinical Decision Making2
          CAM vs Holter Clinical Study                                                       CAM vs Zio® Clinical Study

    The CAM Patch yielded clinically                                                 Based on physician reviewer interpretations
    significant information that either altered                                      of each CAM and Zio® XT report, a
    patient management and/or prevented the                                          different, more informed clinical decision
    need for intervention in 3.8 times as many                                       would have been made in 12 of 29 (41%)
    patients than the Holter.1                                                       patients based on the CAM ECG Report.2
    60%                                         3.8X
                                                 As many
                                                  patients
    40%                                            46%

    20%                                                                                                               Percent of patients in
                                                                                                                      which a different, more
                       12%                                                                                            informed clinical decision
    0%                                                                                                                would have been made
                     Holter                       CAM
    Number of Patients with Clinically Significant                                                                    (n=29, p<0.001)
    Arrhythmia (n=50, p<0.001)


    More Arrhythmias Diagnosed

       IDENTIFIED             Arrhythmias missed or                                     IDENTIFIED            Total arrhythmias as
       34%                    misidentified by patients
                              wearing a Holter1
                                                                                        40%
                                                                                         MORE
                                                                                                              compared to the
                                                                                                              Zio® XT patch2
        MORE


                                                                                                                   Learn more at
The Carnation Ambulatory Monitor is intended for ambulatory collection of ECG data. Rx only.                   www.bardydx.com
For safe and proper use of the products mentioned herein, please refer to the Instructions for Use.
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